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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 20-988V
                                        (not to be published)


    DAVE SCRUGGS,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: October 22, 2021


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Wei Kit Tai, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On August 7, 2020, Dave Scruggs (“Petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2
(the “Vaccine Act”). Petitioner alleges that he suffered Guillain Bare Syndrome caused by
an influenza vaccine administered on September 26, 2017 (Petition at 1). On July 28,
2021, a decision was issued awarding compensation to Petitioner based on the parties’
stipulation. (ECF No. 29).



1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated September
3, 2021, (ECF No. 34), requesting a total award of $32,797.48 (representing $31,141.70
in fees and $1,655.78 in costs). In accordance with General Order No. 9, Petitioner filed
a signed statement indicating that he incurred out-of-pocket expenses in the amount of
$7.35. (ECF No. 34-3). Respondent reacted to the motion on September 16, 2021,
indicating that he is satisfied that the statutory requirements for an award of attorney’s
fees and costs are met in this case, and defers resolution of the amount to be awarded
to my discretion. (ECF No. 35). Petitioner filed a reply on September 16, 2021, requesting
that the court award all fees and costs requested in Petitioner’s application. (ECF No. 36).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, Petitioner is awarded the total amount of $32,804.83 3 as follows:

            •    A lump sum of $32,797.48, representing reimbursement for fees and
                 costs, in the form of a check payable jointly to Petitioner and
                 Petitioner’s counsel and;

            •    A lump sum of $7.35, representing reimbursement for Petitioner’s
                 costs, in the form of a check payable to Petitioner.

       Per Petitioner’s request, the check should be forwarded to Maglio,
Christopher & Toale, PA, 1605 Main Street, Suite 710, Sarasota Florida 34236. In the
absence of a timely-filed motion for review (see Appendix B to the Rules of the Court),
the Clerk shall enter judgment in accordance with this decision. 4




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as f ees f or legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir.1991).
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                    2
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IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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